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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

HEATHER SMITH, individually and on
behalf of all others similarly situated,
                                                    Case No. CIV-23-559-D
        Plaintiff,

v.                                                  CLASS ACTION

WHALECO INC. DBA TEMU,
                                                    (JURY TRIAL DEMANDED)
        Defendant.

     MOTION FOR PRO HAC VICE ADMISSION OF EDWIN POWELL MILLER

        Kathy R. Neal, pursuant to Local Rule 83.2 & 83.3, moves for pro hac vice

 admission of Edwin Powell Miller to represent Plaintiff, Heather Smith, individually and

 on behalf of all others similarly situated, in this action.

        1.      Movant hereby certifies that Edwin Powell Miller is a licensed attorney

 who regularly engages in the practice of law in the State of Michigan and is in good

 standing under all applicable rules and laws of Michigan. A list of Courts, including

 Courts of the United States, in which Edwin Powell Miller is currently admitted, is

 included in the Request for Admission Pro Hac Vice.

        2.      Edwin Powell Miller is eligible for admission to the bar of this Court

 pursuant to Local Rule 83.2(g). Attached hereto as Exhibit 1 is the completed Request

 for Admission Pro Hac Vice. A payment of $100.00 by check or credit card made

 payable to the Clerk of this Court will be tendered to the Clerk of the Court after filing of
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this Motion. Edwin Powell Miller is in the process of registering with the Court’s

CM/ECF system.

       3.      Movant is a licensed member in good standing of the Oklahoma State Bar

Association, and Movant has been retained as counsel for the Plaintiff.

       4.      Defendant’s counsel has indicated that the Defendant has no objection to

this Motion.

       WHEREFORE, the Movant respectfully requests entry of an order for admission

pro hac vice to the Bar of this Court.

       Dated this 25th day of July, 2023.


                                            Respectfully Submitted,


                                            /s/ Kathy R. Neal
                                            Kathy R. Neal, OBA #674
                                            McAFEE & TAFT, P.C.
                                            Williams Center Tower II
                                            Two W. Second Street, Suite 1100
                                            Tulsa, Oklahoma 74103
                                            Telephone: 918-587-0000
                                            Facsimile: 918-599-9317
                                            Kathy.neal@mcafeetaft.com

                                            E. Powell Miller
                                            (pending pro hac vice admission)
                                            THE MILLER LAW FIRM, P.C.
                                            950 W. University Drive, Suite 300
                                            Rochester, MI 48307
                                            Telephone: 248-841-2200
                                            epm@millerlawpc.com

                                            Counsel for Plaintiff and the Putative Class



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            CERTIFICATE OF ELECTRONIC SERVICE AND FILING

I hereby certify that on this 25th day of July, 2023, I caused the foregoing instrument to be
filed with the Clerk of the Court using the ECF System for filing, with electronic service
to be made via CM/ECF to those registered participants of the ECF System.



                                          /s/ Kathy R. Neal
                                          Kathy R. Neal




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